                          Case 1:22-mj-04081-DHH Document 4 Filed 01/31/22 Page 1 of 1
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                          DistrictDistrict
                                                     __________    of Massachusetts
                                                                           of __________

                  United States of America
                             v.                                       )
                          Ariel Legassa                               )        Case No.    22-MJ-4081-DHH
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                            Defendant


                                                         ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Ariel Legassa                                                                                             ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment            u Information       u Superseding Information                 ✔ Complaint
                                                                                                                            u
u Probation Violation Petition              u Supervised Release Violation Petition         u Violation Notice              u Order of the Court

This offense is briefly described as follows:
  Mail Fraud, in violation of 18 U.S.C. § 1341




Date:     Jan 31, 2022
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City and state:       Worcester, Massachusetts                                 Hon. David H. Hennessy,
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                                                                    Return

           This warrant was received on (date)                            , and the person was arrested on (date)
at (city and state)                                             .

Date:
                                                                                            Arresting officer’s signature



                                                                                               Printed name and title
